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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

ERNEST STANDLEY,                              §
                                              §
PLAINTIFF                                     §
                                              §
v.                                            §        CIVIL ACTION NO.	  4:14-cv-2057
                                              §
NABORS INDUSTRIES, INC., AND                  §
EXPRESS PAYROLL, INC.                         §
                                              §
DEFENDANTS                                    §                       JURY DEMANDED
                                              §

FIRST AMENDED ORIGINAL COMPLAINT AND DEMAND FOR JURY TRIAL

        COMES NOW Plaintiff Ernest Standley, by and through his undersigned attorney

of record, and sues Defendant Nabors Industries, Inc. and Express Payroll, Inc.

(“Defendants”) and in support thereof would show unto this Honorable Court as follows:

        1.     Plaintiff brings this action for unpaid minimum wage, unpaid overtime

compensation and other relief under the Fair Labor Standards Act, as amended, 29 U.S.C.

§216(b) (“FLSA”).

        2.     Plaintiff is an individual residing in Harris County, Texas.

        3.     Defendant Nabors Industries, Inc. is a foreign corporation formed and

existing under the laws of the State of Delaware and maintains and operates its principal

office in Houston, Texas. Defendant has already made an appearance in this case.

        4.     Defendant Express Payroll, Inc. is a domestic corporation formed and

existing under the laws of the State of Texas and maintains and operates its principal

office in Palestine, Texas. Defendant can be served with process by serving its registered

agent for service of process, Henry R. Link, at 7662 N. US Highway 287, Tennessee
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Colony, Texas 75861.

          5.    At all times relevant to this claim, Defendants jointly employed Plaintiff

and were substantially in control of the terms and conditions of the Plaintiff’s work.

Defendants were employers of the Plaintiff as defined by 29 U.S.C. §203(d).

          6.    Jurisdiction is conferred on this Court by Title 28 U.S.C. §1331, Title 28

U.S.C. §1337, and by Title 29 U.S.C. §216(b).

          7.    Venue is proper in this district under 28 U.S.C. § 1391.

          8.    At all times pertinent to this Complaint, Defendants were both enterprises

engaged in interstate commerce.

          9.    At all times pertinent to this Complaint, Defendants regularly owned and

operated a business engaged in commerce or in the production of goods for commerce as

defined by §3(r) and 3(s) of the Act, 29 U.S.C. §203(r) and 203(s).

          10.   At all times pertinent to this Complaint, Defendants each had gross

operating revenues in excess of $500,000.00.

          11.   At all times pertinent to this Complaint, Defendants each employed two or

more persons in interstate commerce.

          12.   While employed by Defendants, Plaintiff was individually engaged in

commerce or in the production of goods for commerce.

          13.   Plaintiff worked for Defendants from 1999 through April 5, 2014 as a

draftsman.

          14.   Defendants regularly refused to compensate Plaintiff for all hours worked

each week. No justification or excuse existed for Defendants’ practice of failing to

compensate Plaintiff for all work performed each week.



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          15.   As such, Defendants failed to pay Plaintiff minimum wages for all hours

worked. Failure to pay minimum wages was and is in violation of the FLSA. Defendants

willfully violated Plaintiff’s rights under the FLSA.

          16.   During one or more weeks of Plaintiff’s employment with Defendants,

Plaintiff worked in excess of forty (40) hours (overtime hours).

          17.   During one or more weeks of Plaintiff’s employment with Defendants

wherein Plaintiff worked overtime hours, Defendants failed to pay Plaintiff one and one-

half times his regular rate of pay for each overtime hour worked (overtime

compensation).

          18.   The acts described in the preceding paragraph violate the FLSA, which

prohibits the denial of overtime compensation for hours worked in excess of forty (40)

per workweek. Defendants willfully violated Plaintiff’s rights under the FLSA.

          19.   As a result of Defendants’ unlawful conduct, Plaintiff is entitled to actual

and compensatory damages, including the amount of minimum wages and overtime

which was not paid and which should have been paid.

          20.   Plaintiff seeks and is entitled to an award of liquidated damages in an

amount equal to his unpaid minimum wages and his unpaid overtime pay pursuant to

Section 216 of the FLSA.

          21.   Plaintiff also seeks compensation for expenses and costs of court that will

be incurred in this action. Plaintiff is also entitled to reasonable and necessary attorneys’

fees pursuant to 29 U.S.C. § 216(b).




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          WHEREFORE, PREMISES CONSIDERED, Plaintiff Ernest Standley requests
that:

          1.      The Court assume jurisdiction of this cause and that Defendants be cited to
                  appear;

          2.      The Court award damages to Plaintiff as specified above, with Defendants
                  being held jointly and severally liable;

          3.      The Court award reasonable and necessary attorneys’ and expert fees and
                  costs;

          4.      The Court award Plaintiff pre-and post-judgment interest at the highest
                  rates allowed. Plaintiff further prays for any such other relief as the Court
                  may find proper, whether at law or in equity.

                                   JURY TRIAL DEMAND

          Plaintiff demands a jury trial on all issues so triable.

                                                          Respectfully submitted,



                                                           /s/ Douglas B. Welmaker
                                                          Douglas B. Welmaker
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                                                          ATTORNEYS FOR PLAINTIFF
	  




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